         Case 5:16-cv-04271-JFL Document 64 Filed 08/23/17 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

____________________________________
KATHERINE L. PAGANO                  :             Case Number 5:16-cv-04271-JFL
      Plaintiff                      :
                                     :
              vs.                    :
                                     :
TRANS UNION, LLC, et. al.            :
      Defendants                     :
____________________________________:

                              STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED, by and between the Plaintiff,
KATHERINE L. PAGANO, and the defendant, QUALITY ASSET RECOVERY, LLC, that the
above-entitled action is hereby dismissed with prejudice as to QUALITY ASSET RECOVERY,
LLC only, and without attorney’s fees and costs against any party, pursuant to Rule 41(a) of the
Federal Rules of Civil Procedure. All parties hereby have Consented to this Stipulation.

                             Vullings Law Group, LLC

                      BY: _/s/ Brent F. Vullings______________________________________
                             Brent F. Vullings, Esquire
                             Attorney for Plaintiff

                             Fineman Krekstein and Harris

                      BY: _/s/ Graeme Hogan________________________________________
                             Graeme Hogan, Esq.
                             Attorney for Quality Asset Recovery, LLC

                                                                  IT IS SO ORDERED.

                                                                  ________________________
                                                                                    J.
